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                 B2100A (Form 2100A) (12/15)


                                           United States Bankruptcy Court
                                           _______________
                                           Eastern         District Of _______________
                                                                       California

                       Sheldon Hirsch and Melanie Hirsch
                 In re ______________________________,                                     14-25618
                                                                                  Case No. ________________



                                   TRANSFER OF CLAIM OTHER THAN FOR SECURITY
                 A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
                 Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
                 transfer, other than for security, of the claim referenced in this evidence and notice.

                 US Bank Trust N.A., as trustee of                                           Federal National Mortgage
                 Bungalow Series F Trust
                 ______________________________________                                      Association
                                                                                             ____________________________________
                           Name of Transferee                                                           Name of Transferor

                 Name and Address where notices to transferee                                Court Claim # (if known): 11
                 should be sent:                                                             Amount of Claim: $157,222.90
                 c/o BSI Financial Services                                                  Date Claim Filed: 8/22/14
                 1425 Greenway Drive, Ste 400
                 Irving, TX 75038
                        972-347-4350
                 Phone: ______________________________                                       Phone: __________________________
                                             8771
                 Last Four Digits of Acct #: ______________                                                               8771
                                                                                             Last Four Digits of Acct. #: __________

                 Name and Address where transferee payments
                 should be sent (if different from above):
                 c/o BSI Financial Services
                 PO Box 679002
                 Dallas, TX 75267-9002
                 Phone: _______________________________
                                             8771
                 Last Four Digits of Acct #: _______________



                 I declare under penalty of perjury that the information provided in this notice is true and correct to the
                 best of my knowledge and belief.

                    /s/ Michelle R. Ghidotti-Gonsalves
                 By:__________________________________                                            6/22/2017
                                                                                             Date:____________________________
                         Transferee/Transferee’s Agent


                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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                 B2100B (Form 2100B) (12/15)

                                     United States Bankruptcy Court
                                     _______________
                                     Eastern         District Of _______________
                                                                 California


                       Sheldon Hirsch and Melanie Hirsch
                 In re ______________________________,                    14-25618
                                                                 Case No. ________________




                      NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
                             11
                 Claim No. _____   (if known) was filed or deemed filed under 11 U.S.C. § 1111(a) in this case by the
                 alleged transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of Claim
                                                                                6/22/17 (date).
                 Other than for Security in the clerk’s office of this court on ______



                 Name of Alleged Transferor                                          Name of Transferee
                 Federal National Mortgage                                           US Bank Trust N.A., as trustee of
                 Association                                                         Bungalow Series F Trust
                 Address of Alleged Transferor:                                      Address of Transferee:
                 c/o Seterus, Inc.                                                    c/o BSI Financial Services
                 PO Box 1047                                                          1425 Greenway Drive, Ste 400
                 Hartford, CT 06143                                                   Irving, TX 75038

                                               ~~DEADLINE TO OBJECT TO TRANSFER~~
                 The alleged transferor of the claim is hereby notified that objections must be filed with the court
                 within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
                 court, the transferee will be substituted as the original claimant without further order of the court.




                 Date:_________                                                ______________________________
                                                                                CLERK OF THE COURT
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